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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   BROWARD DIVISION
                                    www.flsb.uscourts.gov


IN RE:                                                      CHAPTER 11

1 GLOBAL CAPITAL, LLC.                                      Case No.: 18-19121- RBR

                 Debtor.               /

               APPOINTMENT AND NOTICE OF APPOINTMENT OF
            COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS

         Pursuant to 11 U.S.C. Section 1102(a), the United States Trustee hereby appoints the
following creditors to serve on the committee of creditors holding unsecured claims:
                                 SEE EXHIBIT "A" ATTACHED
        I certify that a true and correct copy of the APPOINTMENT AND NOTICE OF
APPOINTMENT OF COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS was
served by first-class U. S. Mail upon the members of the committee as appointed on Exhibit A.
Electronically through CM/ECF, on parties having appeared electronically in the instant matter and
to: All parties on the attached service list on this the 7th day of September 2018.




                                                           Daniel M. McDermott
                                                           United States Trustee
                                                           Region 21

                                                           By:                        /s/
                                                           Damaris D. Rosich-Schwartz
                                                           FL Bar No. 042065
                                                           Trial Attorney
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                                                           Damaris.D.Rosich-schwartz@usdoj.gov
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                                        EXHIBIT A

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